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                 Exhibit 5
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Trump lawsuit aims to set record straight on where he
slept in Las Vegas
  lasvegassun.com/news/2015/oct/29/trump-lawsuit-aims-to-set-record-straight-on-where/

                                                                                         October 29, 2015




L.E. Baskow

By Kimberly Pierceall, Associated Press

Thursday, Oct. 29, 2015 | 9:41 a.m.

Billionaire presidential candidate Donald Trump is suing over where he slept during a recent
Las Vegas campaign stop.

Trump's companies that own the Trump International Hotel in Las Vegas with fellow
billionaire Phil Ruffin filed a federal lawsuit against the Culinary Workers Union and
Bartenders Union on Oct. 14 accusing the groups of saying he stayed overnight at Ruffin's
unionized Treasure Island casino-resort instead of his own Trump Hotel.

The Culinary Union has been pushing to unionize Trump's hotel.

The trademark lawsuit says the unions distributed a flyer stating that "when Donald Trump
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stays in Las Vegas, he stays at a union hotel."

Not so, say Trump's lawyers who say the Republican presidential candidate stayed at the
Trump hotel Oct. 7 and Oct. 8 before speaking inside the Treasure Island.
